 Case: 1:20-cv-00099-SNLJ           Doc. #: 70 Filed: 01/10/24         Page: 1 of 2 PageID #:
                                             2472
                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 22-2495
                                      ___________________

  State of Missouri, ex rel. Eric Stephen Schmitt, in his official capacity as Missouri Attorney
                                             General

                                               Plaintiff - Appellant

                                                  v.

The Peoples Republic of China; Communist Party of China; National Health Commission of the
  Peoples Republic of China; Ministry of Emergency Management of the Peoples Republic of
 China; Ministry of Civil Affairs of the Peoples Republic of China; Peoples Government of the
  Hubei Province; Peoples Government of Wuhan City; Wuhan Institute of Virology; Chinese
                                      Academy of Sciences

                                              Defendants - Appellees

                                     ------------------------------

                          The Lawyers for Upholding International Law

                                                  Amicus Curiae

                          The China Society of Private International Law

                               Amicus on Behalf of Appellee(s)
______________________________________________________________________________

     Appeal from U.S. District Court for the Eastern District of Missouri - Cape Girardeau
                                   (1:20-cv-00099-SNLJ)
______________________________________________________________________________

                                           JUDGMENT


Before SMITH, Chief Judge, STRAS, and KOBES, Circuit Judges.


       This appeal from the United States District Court was submitted on the record of the

district court, briefs of the parties and was argued by counsel.




   Appellate Case: 22-2495          Page: 1       Date Filed: 01/10/2024 Entry ID: 5351969
 Case: 1:20-cv-00099-SNLJ           Doc. #: 70 Filed: 01/10/24 Page: 2 of 2 PageID #:
                                               2473
       After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is affirmed in part, reversed in part, and remanded to the district court for

proceedings consistent with the opinion of this court.

                                                       January 10, 2024




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




   Appellate Case: 22-2495          Page: 2       Date Filed: 01/10/2024 Entry ID: 5351969
